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                                                                                       Via ECF


 October 31, 2024


 Brenna B. Mahoney
 Clerk of Court
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, NY 11201

 Re:        SDN Limited et al. v. IOV Labs Limited et al., Case No.: 24-cv-06089

 Dear Ms. Mahoney:

 We represent Plaintiffs SDN Limited and Steven Nerayoff (collectively, “Plaintiffs”) in the above-
 referenced action and write pursuant to Rule II.B.3 of the United States District Court for the
 Eastern District of New York’s Clerk’s Office Foreign Mailing Instructions (the “Mailing
 Instructions”).

 As reflected by the October 17, 2024 docket entries in this action (see Dkt. Nos. 15-16) and as
 detailed in the accompanying Certificate of Service, pursuant to Fed. R. Civ. P. 4(f)(2)(C)(ii) and
 the Mailing Instructions, Plaintiffs caused true and correct copies of the: (i) Notice of Removal
 (Dkt. No. 1); (ii) Exhibit A: State Court Docket Sheet (Dkt. No. 1-1); (iii) Exhibit B: Summons With
 Notice (Dkt. No. 1-2); (iv) Exhibit C: Affirmation of Service (Dkt. No. 1-3); (v) Exhibit D: Affirmation
 of Service (Dkt. No. 1-4); (vi) Exhibit E: Affirmation of Service (Dkt. No. 1-5); (vii) Exhibit F: Notice
 of Motion To Enlarge Time For Service (Dkt. No. 1-6); (viii) Exhibit G: Piskora Affirmation (Dkt.
 No. 1-7); (ix) Exhibit H: Piskora Affirmation Ex. 1 (Dkt. No. 1-8); (x) Exhibit I: Piskora Affirmation
 Ex. 2 (Dkt. No. 1-9); (xi) Exhibit J: Plaintiffs' Memorandum of Law (Dkt. No. 1-10); (xii) Exhibit K:
 Plaintiffs' Affirmation of Service (Dkt. No. 1-11); (xiii) Exhibit L: Request for Judicial Intervention
 (Dkt. No. 1-12); (xiv) Exhibit M: RJI Addendum (Dkt. No. 1-13); (xv) Civil Cover Sheet (Dkt. No.
 2); (xvi) Summons with Notice & Certified Translation; and (xvii) Notice of Electronic Filing &
 Certified Translation, (collectively, the “Filings”), to be served by FedEx International Priority
 Mailing upon the following:


                                                          Alejandro Maria Aberg Cobo
                                                          c/o Fiduciary Management Limited
                                                          Suite 23 Portland House
                                                          Glacis Road
                                                          Gibraltar
                                                          GX11 1AA

                                                                                       – and –


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 For the United States offices, a limited liability partnership including professional corporations. For Hong Kong office, a limited liability partnership.
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                                                                                            Page 2




                               Alejandro Maria Aberg Cobo
                               Camino De Los Horneros 220
                               Lomas De La Tahoma Lote 346
                               14000 Colonia Nicolich
                               Canelones, Uruguay

 We thank the Court for its time and attention to this matter.


 Respectfully yours,


 David A. Forrest
 Attorney At Law
